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     UBER TECHNOLOGIES, INC.
16   and OTTOMOTTO LLC

17                               UNITED STATES DISTRICT COURT

18                            NORTHERN DISTRICT OF CALIFORNIA

19                                     SAN FRANCISCO DIVISION

20

21   WAYMO LLC,                                    Case No. 3:17-cv-00939-WHA

22                        Plaintiff,               DEFENDANTS UBER TECHNOLOGIES,
                                                   INC. AND OTTOMOTTO LLC’S TRIAL
23          v.                                     BRIEF

24   UBER TECHNOLOGIES, INC.,                      Pretrial Conference: November 28, 2017
     OTTOMOTTO LLC; OTTO TRUCKING                  Time: 8:00 a.m.
25   LLC,                                          Ctrm: 12
                                                   Judge: The Honorable William Alsup
26                        Defendants.
                                                   Trial Date: December 4, 2017
27
28

     DEFENDANTS UBER AND OTTOMOTTO’S TRIAL BRIEF
     Case No. 3:17-cv-00939-WHA
     sf-3843417
 1          In this trial brief, Defendants Uber Technologies, Inc. and Ottomotto LLC identify six

 2   issues that they believe should be addressed at the pretrial conference: (1) whether parties should

 3   disclose exhibits that they plan to use during the direct examination of an adverse witness;

 4   (2) whether Waymo may call witnesses who were not disclosed in Waymo’s Rule 26 disclosures;

 5   (3) whether Waymo should be required to reduce the number of witnesses (34 on its most recent

 6   list) that it claims it “will call” at trial; (4) whether Waymo should be allowed to offer testimony

 7   from witnesses that goes beyond the topics disclosed in Waymo’s Rule 26 disclosures;

 8   (5) Waymo’s failure to disclose “a computation of each category of damages,” as required by

 9   Rule 26(a); and (6) whether Waymo can introduce evidence of a theory of liability (a disclosure-

10   based theory implicating Uber’s communications with vendors) that was never disclosed during

11   discovery.

12          1.      Disclosure of Exhibits to be Used in Direct Examination of Adverse Witness

13          A dispute has arisen regarding whether the parties must disclose exhibits to be used during

14   the direct examination of an adverse witness. This Court’s Trial Guidelines for civil cases state

15   that “all counsel are entitled to written firm notice of the order of witnesses for the next court day

16   and the exhibits (including merely illustrative exhibits) to be used on direct examination (other

17   than for true impeachment of a witness).” (Guidelines for Trial & Final Pretrial Conference in

18   Civil Jury Cases (“Jury Trial Guidelines”) (last revised May 8, 2017), ¶ 11 (emphasis added).)

19   Disclosing exhibits is mandatory. “At a minimum, notice must be given no later than 2:00 p.m.

20   one calendar day immediately preceding.” (Id. (emphasis in original).) The parties have agreed

21   to give such notice by 3:30 p.m. two days before the witness testifies and demonstratives by

22   6:00 p.m. one day before they are used. (Declaration of Camila Tapernoux in Support of Uber’s

23   Trial Brief (“Tapernoux Decl.”), Ex. 1 (11/15/17 6:38 pm E-mail from A. González).)

24          Uber believes that the parties are required to disclose all exhibits that they plan to show

25   any witness which that party will call to the stand (i.e., “direct examination”). Waymo’s position

26   is that there is an exception to the Court’s rule—that it is not required to disclose any documents

27   that it plans to show an “adverse” witness (presumably anyone connected in some way to Uber).

28   (Tapernoux Decl., Ex. 2 (11/15/17 3:29 E-mail from A. Roberts).) No such exception is stated in
     DEFENDANTS UBER AND OTTOMOTTO’S TRIAL BRIEF
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 1   the rule, nor should it be.

 2           Waymo’s approach threatens to significantly and unnecessarily delay the trial. The parties

 3   have agreed to confer every evening about trial exhibits. The idea is to identify and hopefully

 4   eliminate disputes regarding exhibits. If any disputes cannot be resolved, they will be raised with

 5   the Court before the witness takes the stand. For this process to work, exhibits that the parties

 6   plan to use on direct examination have to be disclosed (including for adverse witnesses).

 7   Otherwise, there will most certainly be disputes during the testimony that could have been

 8   resolved before the witness took the stand.

 9           2.      New Waymo Witnesses

10           This Court’s “Supplemental Order to Order Setting Initial Case Management Conference

11   in Civil Cases” states at paragraph 26: “Rule 26 requires certain automatic disclosures and

12   requires them to be made in a timely manner.” In addition, this Court’s Jury Trial Guidelines

13   state: “All parties are reminded of their disclosure duties under FRCP 26(a)(3), which begin

14   THIRTY CALENDAR DAYS before trial.” (Jury Trial Guidelines ¶ 1 (emphasis in original).)

15           On November 15, 2017, two weeks before jury selection, Waymo added a new witness

16   (Prabir Adarkar) to its “will call” witness list. Mr. Adarkar was never previously disclosed in

17   any of Waymo’s Rule 26 initial disclosures. On the same day, Waymo also added Shawn

18   Bananzadeh to its “will call” list—he also was not disclosed in any of Waymo’s Rule 26 initial

19   disclosures. With respect to Mr. Banazadeh, Waymo added him to its most recent “will call”

20   witness list, against the Court’s directive that if Mr. Bananzadeh is allowed to testify at all, it

21   would only be in rebuttal: “If they use the 30(b)(6) deposition in any way before the jury,

22   through an expert or directly read in, then [Mr. Bananzadeh] gets to come back and explain it in

23   your rebuttal case, but not in your case-in-chief. In other words, you can’t use him in your

24   case-in-chief because he’s a new witness.” (10/26/2017 Hr’g Tr. 12:2-11 (emphasis added).)

25           Because neither Prabir Adarkar nor Shawn Bananzadeh was timely disclosed, neither

26   witness should be allowed to testify at trial.

27           Uber similarly objects to the following eight witnesses who were not listed in any of

28   Waymo’s Rule 26 initial disclosures: Kristin Gudjonsson, Travis Bellanger, David Lawee,
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 1   John Krafcik, Chelsea Bailey, Gerard Dwyer, Don Harrison, and Jennifer Haroon. (Tapernoux

 2   Decl. Exs. 3-5.)

 3           3.      Number of “Will Call” Witnesses

 4           Given the 16-hour time limit for evidence for each side, Uber has provided, and has asked

 5   Waymo to provide, a realistic list of the witnesses it intends to call at trial. Waymo has

 6   34 witnesses on its “will call” witness list (and 30 more witnesses on its “may call” list). It is

 7   near impossible for Waymo to call anywhere close to that number of witnesses, and Waymo

 8   knows it. But by placing 34 witnesses on its “will call” list, Waymo is forcing 34 witnesses (half

 9   of whom are current or former Uber employees) to remain “on call” for two weeks and creating a

10   lot of make-work for Uber in preparing for all these potential examinations, even though many of

11   them will not be called. By contrast, Uber has made a good-faith effort to identify a realistic

12   number of witnesses that it “will call” and has provided Waymo with a list of 17 names—half the

13   size of Waymo’s list. Uber has made this narrowing effort despite the fact that, as Defendants,

14   Uber must necessarily react to Waymo’s affirmative case.

15           Uber requests that the Court order Waymo to provide a realistic list of witnesses it intends

16   to call. Uber is not asking, of course, for a precise list of witnesses that is set in stone, nor is it

17   trying to “trap” Waymo. Accordingly, Uber will not argue that Waymo is barred from calling

18   witnesses on its “may call” list. Waymo, as the Plaintiff, should know by now the witnesses it

19   “will call” at trial and should provide Uber with a “real” list of witnesses, as Uber has done.

20   Since Waymo goes first, it should be able to identify those witnesses at the pretrial conference.

21           4.      “Substance of Testimony” Witness List Disclosures

22           A dispute has arisen regarding whether Waymo’s Rule 26 initial disclosures adequately

23   identify the subject matter about which Waymo now indicates that it will question certain Uber

24   witnesses at trial.

25           Federal Rule of Civil Procedure 26(a)(1)(A)(i) requires a party to “provide to the other

26   parties . . . the name . . . of each individual likely to have discoverable information—along with

27   the subjects of that information—that the disclosing party may use to support its claims or

28   defenses, unless the use would be solely for impeachment.” “If a party fails to provide
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 1   information or identify a witness as required by Rule 26(a) . . ., the party is not allowed to use that

 2   information or witness to supply evidence . . . at a trial, unless the failure was substantially

 3   justified or is harmless.” Fed. R. Civ. P. 37(c).

 4             Waymo’s trial witness list indicates that it plans to question Uber witnesses about subjects

 5   that Waymo never identified in any of its Rule 26 initial disclosures. Waymo offers no

 6   justification for failing to include these subjects in its disclosures, and allowing testimony on

 7   undisclosed issues at trial would prejudice Uber in precisely the way Rules 26 and 37 are

 8   designed to prevent. Accordingly, the Court should enforce Rule 37 and limit Waymo’s

 9   questioning of these witnesses to properly disclosed subject matter.

10             To say that Waymo’s Rule 26 subject matter disclosures are generic and vague would be

11   generous. For the challenged witnesses, virtually the only subject matter disclosed was the

12   witness’s knowledge of “matters that concern the misappropriation of trade secrets.” If such a

13   useless description were sufficient, then Rule 26 has no meaning because litigants could simply

14   state for every witness that he or she has knowledge regarding “matters that concern the [insert

15   claim].” Despite serving three sets of Rule 26 initial disclosures, Waymo never identified these

16   additional subjects that have now been included in the trial witness list. Waymo’s witness list,

17   however, shows that Waymo intends to call witnesses to testify about matters that go far beyond

18   even Waymo’s vague Rule 26 disclosures, which Rule 26 prohibits. This Court should not allow

19   Waymo to call the following Uber witnesses to testify about the subject matter indicated in the

20   chart below in red italics because that subject matter was never properly disclosed by Waymo in

21   its Rule 26 initial disclosures.
      
22       Witness         Plaintiff Waymo LLC’s             Waymo’s Third Amended Witness List
                         Corrected Supplemental
23                       Initial Disclosures
24       Bentley,        Matters that concern the          Mr. Bentley will be asked to provide non-
         Adam            misappropriation of trade         cumulative testimony regarding the Uber- Otto
25                       secrets.                          acquisition; the Stroz due diligence analysis,
                                                           investigation, and report; and destruction of
26                                                         relevant evidence
27
28
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 1    Witness        Plaintiff Waymo LLC’s             Waymo’s Third Amended Witness List
                     Corrected Supplemental
 2                   Initial Disclosures
 3    Burnette,      Matters that concern              Mr. Burnette will be asked to provide non-
      Don            misappropriation of trade         cumulative testimony concerning Defendants
 4                   secrets and patent infringement   misappropriation of Waymo’s trade secrets,
                     by Defendants.                    including their acquisition, use and disclosure,
 5                                                     and the lack of independent development; the
                                                       development of Waymo’s self-driving car
 6                                                     technology, including its LIDAR designs and
                                                       planner software; due diligence by Stroz for
 7                                                     Otto acquisition by Uber; and destruction of
                                                       relevant evidence
 8

 9
      Holden, Jeff   Matters that concern              Mr. Holden will be asked to provide
10                   misappropriation of trade         noncumulative testimony regarding the state of
                     secrets.                          Uber’s autonomous vehicle program before
11                                                     the Otto acquisition; negotiations with
                                                       Mr. Levandowski regarding the acquisition;
12                                                     Mr. Levandowski’s consulting work; facts
                                                       surrounding Mr. Levandowski’s continued
13                                                     employment with Uber and termination; and
                                                       Defendants’ misappropriation of Waymo’s
14                                                     trade secrets

15

16    Juelsgaard,    Matters that concern              Mr. Juelsgaard will be asked to provide non-
      Soren          misappropriation of trade         cumulative testimony concerning Defendants
17                   secrets and patent infringement   misappropriation of Waymo’s trade secrets,
                     by Defendants.                    including their acquisition, use and disclosure,
18                                                     and the lack of independent development; the
                                                       development of Waymo’s self-driving car
19                                                     technology, including its LIDAR designs and
                                                       software; due diligence by Stroz for Otto
20                                                     acquisition by Uber; and destruction of
                                                       relevant evidence
21

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     DEFENDANTS UBER AND OTTOMOTTO’S TRIAL BRIEF
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 1    Witness        Plaintiff Waymo LLC’s             Waymo’s Third Amended Witness List
                     Corrected Supplemental
 2                   Initial Disclosures
 3    Kalanick,      Matters that concern              Mr. Kalanick will be asked to provide non-
      Travis         misappropriation of trade         cumulative testimony regarding Uber’s
 4                   secrets and patent infringement   driverless car program; Uber’s solicitation of
                     by Defendants.                    Google and Waymo employees; discussions
 5                                                     with, knowledge about, Levandowksi [sic],
                                                       discussions with the Board and Benchmark
 6                                                     partners concerning the Otto acquisition,
                                                       Mr. Levandowski, and the relationship
 7                                                     between the facts surrounding this case and his
                                                       termination; negotiations with Mr.
 8                                                     Levandowski regarding the founding of
                                                       Ottomotto and Otto Trucking, and Otto
 9                                                     acquisition; the Uber-Otto acquisition;
                                                       solitication [sic] of Google/Waymo employees;
10                                                     the Stroz due diligence analysis, investigation,
                                                       and report; Uber’s knowledge of stolen
11                                                     documents, understanding, and activity related
                                                       to misappropriation of Google/Waymo trade
12                                                     secret and proprietary information;
                                                       Levandowski’s employment and continued
13                                                     employment at Uber; and destruction of
                                                       relevant evidence
14
      McClendon,     Matters that concern              Mr. McClendon will be asked to provide non-
15    Brian          misappropriation of trade         cumulative testimony regarding solicitation of
                     secrets and patent infringement   and negotiations with Levandowski regarding
16                   by Defendants.                    founding Ottomotto and Otto Trucking; and the
                                                       Uber-Otto acquisition, the development of
17                                                     Uber’s self-driving technology, including
                                                       before the Otto acquisition, Defendants’
18                                                     misappropriation of Waymo’s trade secrets,
                                                       including their acquisition, use and disclosure,
19                                                     and the lack of independent development

20

21    Michael,       Matters that concern              Mr. Michael will be asked to provide non-
      Emil           misappropriation of trade         cumulative testimony regarding the
22                   secrets and patent infringement   negotiations with Levandowski regarding
                     by Defendants.                    founding Ottomotto and Otto Trucking; the
23                                                     Uber- Otto acquisition; Levandowski’s
                                                       employment and continued employment at
24                                                     Uber; discussions with, knowledge about,
                                                       Levandowksi [sic], discussions with the Board
25                                                     and Benchmark partners concerning the Otto
                                                       acquisition, Mr. Levandowski, and the
26                                                     relationship between the facts surrounding this
                                                       case and his termination
27
28
     DEFENDANTS UBER AND OTTOMOTTO’S TRIAL BRIEF
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 1    Witness         Plaintiff Waymo LLC’s             Waymo’s Third Amended Witness List
                      Corrected Supplemental
 2                    Initial Disclosures
 3    Poetzscher,     Matters that concern              Mr. Poetzcher [sic] will be asked to provide
      Cameron         misappropriation of trade         non-cumulative testimony regarding Uber’s
 4                    secrets.                          negotiations with Mr. Levandowski regarding
                                                        the formation of Ottomotto/Otto Trucking; and
 5                                                      the acquisition; solicitation of Google/Waymo
                                                        employees; destruction of relevant evidence;
 6                                                      and the Stroz due diligence analysis,
                                                        investigation, and report
 7

 8    Ron, Lior       Matters that concern              Mr. Ron will be asked to provide
                      misappropriation of trade         noncumulative testimony regarding the
 9                    secrets and patent infringement   misappropriation of Waymo trade secrets;
                      by Defendants.                    founding of Ottomotto and Otto Trucking; the
10                                                      Uber-Otto acquisition; the Stroz due diligence
                                                        analysis, investigation, and report; and the
11                                                      business and product development of
                                                        Ottomotto and Otto Trucking, destruction of
12                                                      relevant evidence
13
      Schwarz,        Matters that concern              Mr. Schwarz will be asked to provide non-
14    Brent           misappropriation of trade         cumulative testimony regarding Defendants
                      secrets.                          misappropriation of Waymo’s trade secrets,
15                                                      including their acquisition, use and disclosure,
                                                        and the lack of independent development;
16                                                      regarding Tyto LiDAR and Otto’s acquisition
                                                        of Tyto
17

18    Sebern, Colin   Matters that concern              Mr. Sebern will be asked to provide non-
                      misappropriation of trade         cumulative testimony concerning Defendants
19                    secrets and patent infringement   misappropriation of Waymo’s trade secrets,
                      by Defendants.                    including their acquisition, use and disclosure,
20                                                      and the lack of independent development; the
                                                        development of Waymo’s self-driving car
21                                                      technology, including its LIDAR designs and
                                                        software; due diligence by Stroz for Otto
22                                                      acquisition by Uber

23
      Morgan,         Matters that concern              Ms. Morgan will be asked to provide
24    Rhian           misappropriation of trade         noncumulative testimony regarding the
                      secrets.                          founding and business of Ottomotto and Otto
25                                                      Trucking; Uber’s acquisition of Otto; and the
                                                        Stroz due diligence analysis, investigation,
26                                                      report; Defendants misappropriation of
                                                        Waymo’s trade secrets, destruction of relevant
27                                                      evidence

28
     DEFENDANTS UBER AND OTTOMOTTO’S TRIAL BRIEF
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 1    Witness         Plaintiff Waymo LLC’s              Waymo’s Third Amended Witness List
                      Corrected Supplemental
 2                    Initial Disclosures
 3    Qi, Nina        Matters that concern               Ms. Qi will be asked to provide noncumulative
                      misappropriation of trade          testimony regarding Uber’s decision to acquire
 4                    secrets.                           Ottomotto (and to enter into an option to
                                                         acquire Otto Trucking); contacts between
 5                                                       Uber and Mr. Levandowski regarding the
                                                         formation of Ottomotto / Otto Trucking, Uber’s
 6                                                       acquisition of those entities, and the benefits
                                                         that Uber would obtain via those acquisitions;
 7                                                       Uber’s solicitation of Google/Waymo
                                                         employees; Uber’s internal views on those
 8                                                       subjects, destruction of relevant evidence; and
                                                         the Stroz due diligence analysis, investigation,
 9                                                       and report

10
      Yoo, Salle      Matters that concern               Ms.Yoo will be asked to provide
11                    misappropriation of trade          noncumulative testimony regarding the Uber-
                      secrets.                           Otto acquisition; the Stroz due diligence
12                                                       analysis investigation, and report; continued
                                                         employment and termination of Anthony
13                                                       Levandowski; and Defendants
                                                         misappropriation of Waymo’s trade secrets,
14                                                       destruction of relevant evidence
15

16

17          5.      Computation of Each Category of Damages

18          Waymo violated Rule 26(a) by failing to disclose “a computation of each category of

19   damages[.]” Fed. R. Civ. P. 26(a)(1)(A)(iii); see also Brandywine Commc’ns Techs., LLC v.

20   Cisco Sys., Inc., No. C 12-01669 WHA, 2012 WL 5504036, at *2 (N.D. Cal. Nov. 13,

21   2012). The Court’s June 7, 2017 Case Management Order (Dkt. 563) required Waymo to comply

22   with Rule 26(a)(1)(A)(iii) “on pain of preclusion” by the June 21, 2017 deadline, and this Court

23   told the parties that they would “have to throw [themselves] on the mercies of the court and do

24   supplements” only “for good cause.” (6/7/2017 Hr’g Tr. 69:2-72:9.)

25          Without supplementing its Rule 26(a)(1)(A)(iii) disclosures, Waymo subsequently served

26   its response to Interrogatory No. 13 on July 17, 2017 to outline a variety of possible damages

27   theories. With respect to reasonable royalty, Waymo stated that “Waymo’s damages expert will

28   analyze and compute the amount of reasonable royalty damages payable to Waymo[.]”
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 1   (Dkt. 933-3 at 15.) It was not until August 24, 2017, when it disclosed the expert report of

 2   Michael Wagner, that Waymo narrowed its damages theories, provided a detailed computation of

 3   unjust enrichment damages and provided a reasonable royalty computation. (See Dkt. 1615.) For

 4   reasonable royalty, Waymo and Mr. Wagner simply took Waymo’s accelerated development

 5   model and increased it by ten percent. (See Dkt. 2166 at 13.)

 6          In its order excluding Mr. Wagner, this Court denied Uber’s prior motion relating to

 7   Waymo’s inadequate damage disclosures, stating: “With the benefit of Waymo’s full damages

 8   theory and the foregoing rulings, this order finds that no further relief is necessary under these

 9   circumstances to remedy any shortfalls in Waymo’s initial disclosures.” (Id. at 16 (emphasis

10   added).) Since that order, however, Waymo has submitted an offer of proof relating to reasonable

11   royalty that appears untethered to the “full damages theory” addressed in the order excluding

12   Mr. Wagner (see Dkt. 2189) and is also seeking to add new damages witnesses. With Waymo’s

13   damages expert stricken, Uber is once again in the dark as to what damages case Waymo intends

14   to present at trial due to Waymo’s deficient disclosures.

15          Accordingly, Uber requests that the Court confirm that Waymo is precluded from

16   presenting any damages calculations or theories beyond those disclosed in Mr. Wagner’s opening

17   report and as summarized in the order excluding Mr. Wagner. That is, Waymo should not be

18   permitted to offer any damages theory other than: (1) the accelerated development model based

19   on the Qi slide; (2) the saved development expense model based on Uber’s run rate; and

20   (3) a reasonable royalty based on a percentage of the accelerated development model.

21          Permitting Waymo to change its damage theories on the eve of trial is precisely the type

22   of unfair prejudice and surprise that Rule 26 was intended to guard against.

23          6.      Waymo’s Undisclosed Theory of Liability

24          Prior to filing its offer of proof regarding the disclosure of trade secrets on

25   November 12, 2017, Waymo never even hinted at the fact that it was pursuing a theory of liability

26   based on Uber’s alleged disclosure of certain of Waymo’s asserted trade secrets to Uber’s

27   vendors. This theory was never disclosed in Waymo’s initial disclosures, was not included in any

28   of Waymo’s responses to interrogatories that called for such disclosure, and was never the subject
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 1   of fact or expert discovery.

 2          First, for example, at the November 14, 2017 hearing, the Court asked whether Waymo

 3   had included the types of documents it was using to support its new theory in its initial

 4   disclosures. (11/14/2017 Hr’g Tr. 72:11-73:1.) Waymo did not disclose any of Uber’s vendors,

 5   either by name or by category, on its Rule 26(a)(1) disclosures. Nor did any of its disclosures

 6   include any reference to communications to or from vendors.

 7          Second, Uber served three interrogatories that called for the disclosure of this theory of

 8   liability, had Waymo wanted to pursue it:

 9                  Uber’s Interrogatory No. 28: “[D]escribe in detail how Uber/Otto’s acquisition,
10                   use, or disclosure of such a trade secret was a substantial factor in causing
                     Waymo’s harm or Uber/Otto’s unjust enrichment, including identifying whether
11                   the alleged act was acquisition, use or disclosure, and identifying all documents
12                   by bates number that relate to this allegation.” (Tapernoux Decl., Ex. 6.)

13                  Uber’s Interrogatory No. 13: “[D]escribe in detail the complete basis for any
                     damages You contend You have suffered or will suffer . . . .” (Tapernoux Decl.,
14
                     Ex. 7.)
15
                    Uber’s Interrogatory No. 8: “[D]escribe all instances in which the trade secret
16                   or (or any Waymo LiDAR device utilizing the trade secret) was publicly or
                     otherwise disclosed to third parties, and identify all Documents (by Bates number)
17
                     concerning such disclosure.” (Tapernoux Decl., Ex. 8.)
18

19          Waymo’s answers did not include a single reference to the disclosure of asserted trade

20   secrets to any of Uber’s vendors. To the contrary, Waymo’s response to Interrogatory 28 asserted

21   only that there was a “risk that Defendants will disclose” each asserted trade secret in regulatory

22   filings creating a “harm, although not one that Waymo can necessarily quantify.” (Id. Ex. 6.)

23   The omission of any reference to Uber’s vendors in this response speaks volumes.

24          Finally, because Waymo never hinted at this theory of liability (for which it still has not

25   disclosed any alleged damages), the parties took no discovery on the topic either from fact or

26   expert witnesses. For example, no vendors were deposed about how they handled Uber-provided

27   information that Waymo now alleges disclosed the asserted trade secrets, or whether there were

28   any non-disclosures agreements with the vendors (there were) requiring them not to disclose this

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 1   information. Likewise, no experts were asked to opine about whether the documents sent to the

 2   vendors allegedly containing the asserted trade secrets actually disclosed those trade secrets.

 3          In sum, it would be extremely prejudicial and improper for Waymo to introduce evidence

 4   on this previously undisclosed theory of liability.

 5

 6   Dated: November 21, 2017                     MORRISON & FOERSTER LLP

 7

 8                                                By:       /s/ Arturo J. Gonzalez
                                                        ARTURO J. GONZÁLEZ
 9

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     DEFENDANTS UBER AND OTTOMOTTO’S TRIAL BRIEF
     Case No. 3:17-cv-00939-WHA
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     sf-3843417
